Case 1:04-cv-01184-.]DT-STA Document 23 Filed 05/06/05 Page 1 of 3 Page|D 26

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FoR THE wEsTERN DISTRICT oF TENNESSEE 0 53
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a‘?£;~,<’/"<`x 6‘
DARNICE Cox, ) '_O;if‘ >* ¢ 0
Plaintiff, ) *-1:“-"’<`9/% "¢O
) ""'C’° {"./<»Ee
vs ) No; 04-1184-T-An QC}‘
)
MAYTAG JACKsoN DISHWASHING )
PRODUCTS, )
)
Defendant. )

 

ORDER GRANTING PLAINTIFF’S UNOPPOSED MOTION TO
CONTINUE TRIAL AND TO ENTER A NEW SCHEDULING ORDER

 

lt appearing to the Court that counsel for plaintiff has filed his Unopposed Motion to Continue
Trial and To Enter a New Scheduling Order and his Certification stating that counsel for defendant
has no objection to said continuance and the court finds that said motion is well taken and should be
granted

lT lS THEREFORE ORDERED, ADJUDGED AND DECREED that the trial in this matter

be continued and that a new Scheduling Order be entered.

QWW»LQM

ljwll:`$ D. TODD
TED STATES DISTRICT JUDGE

JMSWS

This document entered on the docket she t in compliance DATE
with Hule 58 and/or 79 (a) FHCP on _S,[q_[_@$__

Case 1:04-cv-01184-.]DT-STA Document 23 Filed 05/06/05 Page 2 of 3 Page|D 27

APPROVED FOR ENTRY:

WEINMAN & ASSOCIATES

    

Ja kson, ll» 302-0266
731~423-5565
Attorneyfr)r Plaintijf

CERTIFICATE OF SERVlCE

l, Michael L. Weinman, do hereby certify that a true and exact copy of the for oing has been
mailed, by U.S. mail, postage prepaid, to the following on this the §§ d day of . ,
2005. - 3
Christopher H. Steger ', .:.
MILLER & MARTIN LLP
832 Georgia Ave. - Ste. 1000
Chattanooga, TN 37402-228

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Honorable .l ames Todd
US DlSTRlCT COURT

